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                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                            DALLAS DIVISION

TIANIKWA HAYWOOD and PAUL                                         §
DOUGLAS CELESTINE,                                                §
                                                                  §
            Plaintiffs,                                           §
                                                                  §
vs.                                                               §
                                                                  §
TEXAS REALATOR, CEO OR OWNER,                                     §
MACKIE WOLF ZIENTZ & MAN, P.C.                                    §               Civil Action No. 3:22-cv-2174-C
LAW FIRM, STANFORD & KURLAND,                                     §
OWNER OF PENNYMAC LOAN                                            §
SERVICES, LLC; SONYA                                              §
LUECHAUSER, CEO & PRESIDENT,                                      §
DHI MORTGAGE COMPANY, LTD, TIM                                    §
NICHOLSON, VICE PRESIDENT                                         §
PENNYMAC LOAN, SANDRA NASEEF                                      §
DHS TITLE CO., JOHN DOE, JANE DOE                                 §
                                                                  §
            Defendants.                                           §

                          DEFENDANTS DHI MORTGAGE COMPANY
                 and DHI TITLE’S BRIEF IN SUPPORT OF MOTION TO DISMISS

            Defendant DHI Mortgage Company, Ltd. (“DHIM”), and DHI Title (“DHIT”) file this

Brief in Support of their Motion to Dismiss, under Federal Rule of Procedure 12(b)(6), all

claims asserted against them in this action filed by Plaintiffs. Plaintiffs’ claims as set

forth in the Complaint fail to state any claim for relief against DHIM or DHIT. 1

       A. The Claims in the Lawsuit are unintelligible.

            In the Lawsuit, Plaintiffs allege all Defendants violated what Plaintiffs call “False-

Communication-Sentence-Parse Syntax-Grammar, or F.C.S.S.P.S.G.” According to the

Lawsuit, the alleged violation of the F.C.S.S.P.S.G is “by the grammar and the framing

or boxing of the loan agreement under Maritime law.”


1   Plaintiffs live pleading is titled a “Lawsuit” but will be referred to herein as a Complaint.



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        The lawsuit is made up of other assertions that also do not have any legal or real-

world meaning:

        “Both the lender and borrower, thus, fraud being fraud in nature and by all of the
        Defendants working together to complete the conspiracy of Title 18 U.S.C. 1961-
        1968 Rico Act, that by the Defendant’s conduct there was no bank sign of the
        fraudulent mortgage contract.”

        “The Plaintiff invokes now time under Maritime Law, in which, truth and facts shall
        come before the court. The Plaintiffs have paid the fee to move the vessel out of
        dry dock into the sea of space. This claim is being filed for the Defendants' use of
        fraudulent grammar in the contracts and loan agreement by the fraud of the
        Defendants.”

        “For the claimant's knowledge of facts of the claim of law, rules, codes, and
        regulation with the C.S.S.C.P.S.G. of this court, the complete request by the
        Defendants own knowledge that the contract is void by the violation of
        C.S.S.C.P.S.G.”

        “Thus, for the harm caused by the Defendants the Plaintiff is suing for
        $50,000,000.00 USD (Fifty million dollars). The post Office is over every vessel in
        the United States of America and this honorable court has jurisdiction.”

        “The Defendants have continued the fraud by the letters from Texas Realtor that
        F.P.S.G. thus, the Plaintiff under the protection of due process of law under the
        14th Amendment is requesting that the C.S.S.C.P.S.G. as required under
        Maritime Law.”

    B. No claim for relief is stated.

        Plaintiffs have not asserted any viable causes of action against DHIM or DHIT,

nor have they asserted any claims that could entitle them to any of the relief sought.

There is no basis in law or fact to support any claims against DHIM or DHIT. The only

“cause of action” that appears to have been pled is a violation of “False-Communication-

Sentence-Parse Syntax-Grammar, or F.C.S.S.P.S.G.,” which is not a recognized or

viable legal claim.

        Plaintiffs do not plead facts that could support any relief sought against DHIM or


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DHIT under any legal theory. DHIM and DHIT move to dismiss all claims against them.

The suit must be dismissed because Plaintiffs fail to state any claim upon which relief

can be granted. To survive a motion to dismiss under Rule 12(b)(6), a complaint must

contain more than “labels and conclusions” or a “formulaic recitation of the elements of a

cause of action.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007)). Rather, the complaint must include “sufficient

factual matter, accepted as true, to state a claim to relief that is plausible on its face.” Id.

(internal quotations and citations omitted). “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.” Id. (citation omitted).

        Plaintiffs’ pleading does not allege any specific actions by DHIM or DHIT

sufficient to state a claim against them for any alleged violations of the law. The Lawsuit

does not articulate any well-pleaded facts rationally supportive of any claim against

DHIM or DHIT.

        C. CONCLUSION

        This case should be dismissed as to DHI Mortgage Company, Ltd. and DHI Title.




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                                                 Respectfully submitted,



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                                                 ATTORNEYS FOR DHI MORTGAGE COMPANY AND
                                                 DHI TITLE




                                   CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing has been forwarded to the following pro
se Plaintiffs via certified mail return receipt requested and to counsel of record by e-
service on this the 24th day of October 2022:

        Certified Mail, RRR
        9489 0090 0027 6403 2964 42
        Tianikwa Haywood
        Paul Douglas Celestine
        3222 Burgundy Lane
        Midlothian, TX 76065




                                                 /s/ David M. Kleiman
                                                 David M. Kleiman




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